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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CR 13-00653-SOM-11
                               )
           Plaintiff(s),       )
                               )          ORDER REQUESTING INFORMATION
      vs.                      )
                               )
 DONALD SEALS,                 )
                               )
           Defendant(s).       )
 _____________________________ )

                      ORDER REQUESTING INFORMATION

            Before the court rules on the merits of Donald Seals’s

 compassionate release motion, the court would like information

 about any release plan Mr. Seals may have.         The court therefore

 asks counsel for Mr. Seals to provide the following information

 no later than 4:30 p.m. on Monday, June 29, 2020.          Counsel is

 free to obtain the information from Mr. Seals or his wife, or

 from any other person, but counsel should tell the court the

 source of any information provided.        Responses to the following

 questions may or may not affect this court’s ruling on the

 compassionate release motion.

       1.   Is the relationship between Donald Seals and Dina

            Seals, nee Banks, intact?       Does Dina Seals support Mr.

            Seals’s compassionate release motion, and is she

            willing to cooperate with federal probation (for

            example, by allowing unannounced home inspections)?

       2.   If this court grants Mr. Seals’s compassionate release

            motion, will Mrs. Seals self-quarantine for 14 days
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            following his return to her home and follow all

            applicable orders related to the pandemic issued by the

            State of California and by local authorities?

       3.   Does Mrs. Seals have any health conditions that might

            affect her ability to assist Mr. Seals with his medical

            needs?    Is she herself at greater risk of complications

            if exposed to COVID-19?       The court notes that, right

            before Mr. Seals was sentenced, Mrs. Seals was

            reportedly diagnosed with breast cancer.         Does the

            residence allow for Mr. Seals to isolate himself from

            others if that is appropriate or advisable?

       4.   Is Mrs. Seals able and willing to support Mr. Seals

            financially?     What will their financial circumstances

            be?   To the extent allowed by the pandemic and any

            supervised release conditions this court might impose,

            does Mr. Seals intend to seek employment, as suggested

            by his motion?

       5.   Who else lives with Mrs. Seals in Oakland, California?

       6.   Does anyone in the household have any criminal

            background and/or pending criminal matters?

       7.   Are there any firearms in the residence?         If so, if Mr.

            Seals is released early, can they be removed before his

            release?

       8.   Given the existing special conditions of supervised


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             release, are Mrs. Seals and any other persons living in

             the residence agreeing that there will be no alcohol on

             the property?    Do Mrs. Seals and other residents

             understand that the residence may be subject to

             searches by the probation office?

       9.    Will Mrs. Seals or another family member pick Mr. Seals

             up from Lompoc if he is released early?        Will providing

             such transportation be permitted under applicable

             orders issued by the State of California and local

             authorities?    If Mr. Seals is released early, will Mrs.

             Seals or other family members assist Mr. Seals with

             transportation to medical appointments, counseling/drug

             testing, meetings with probation etc.

       10.   If the court orders Mr. Seals released early and

             imposes a special condition of home confinement with

             location monitoring, will Mrs. Seals provide Mr. Seals

             with a smartphone or install a land line telephone?

             Can Mrs. Seals help with the cost of location

             monitoring?

             The court stresses that it is not here issuing any

 decision on the merits of the compassionate release motion.            The

 court is hoping that the requested information will allow it to

 make an informed decision.




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              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, June 24, 2020.



                                          /s/ Susan Oki Mollway
                                         Susan Oki Mollway
                                         Senior United States District Judge




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